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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                               NORTHEASTERN DIVISION

United States of America,                      )
                                               )               Case No. 2:07-cr-35-01
                      Plaintiff,               )                        2:09-cr-62
                                               )
               -vs-                            )      ORDER ADOPTING REPORT AND
                                               )          RECOMMENDATION
Ryan Herman,                                   )
                                               )
                      Defendant.               )

       On March 30, 2011, the Court referred the petition for revocation of supervised release to

the magistrate judge for preparation of a Report and Recommendation. The Court has received a

Report and Recommendation from the Honorable Alice R. Senechal, United States Magistrate

Judge, pursuant to 28 U.S.C. § 636, recommending that the Court find Defendant Ryan Herman

violated conditions of supervised release, that Herman’s term of supervised release be revoked,

and that Herman be ordered to serve six months in the custody of the Bureau of Prisons.

       At the time of the final revocation hearing, the United States recommended that

Herman’s supervised release be revoked and that he be ordered to serve eight months in custody.

Herman did not contest revocation, but requested a sentence of six months rather than eight

months. The Magistrate Judge recommended a sentence of six months. The United States does

not object to the Magistrate Judge’s recommended sentence (Doc. #130 in Case No. 2:07-cr-35;

Doc. #59 in Case No. 2:09-cr-62).

       The Court has reviewed the Report and Recommendation, along with the entire file, and

finds the Magistrate Judge’s recommendations are appropriate. Accordingly, the Court hereby

adopts the Report and Recommendation in its entirety. The Court finds that Herman has violated


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conditions of supervised release, as alleged in the amended petition, and for the reasons set forth

in the Report and Recommendation, Herman’s supervised release is REVOKED. Herman is

sentenced to a term of six months in the custody of the Bureau of Prisons, with no additional

term of supervised release after completion of his custodial sentence.

       The Clerk is directed to prepare and file a Judgment consistent with this Order.

       IT IS SO ORDERED.

       Dated this 2nd day of May, 2011.

                                              /s/ Ralph R. Erickson
                                              Ralph R. Erickson, Chief District Judge
                                              United States District Court




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